EXHIBIT 2
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c12)   United States Patent                                                (IO)    Patent No.:                    US 9,959,023 B2
       Rad et al.                                                          (45)    Date of Patent:                              May 1, 2018

(54)   MATCHING PROCESS SYSTEM AND                                                           (2013.01); G06Q 10/10 (2013.01); G06Q
       METHOD                                                                                30/02 (2013.01); G06Q 50/01 (2013.01);
                                                                                                               G06Q 50/10 (2013.01)
(71)   Applicant: Tinder, Inc., West Hollywood, CA (US)                (58)     Field of Classification Search
                                                                                CPC ............. H04L 67/306; G06F 17/30011; G06F
(72)   Inventors: Sean Rad, Los Angeles, CA (US);
                                                                                                                             17/3053
                  Jonathan Badeen, North Hollywood,
                  CA (US)                                                       See application file for complete search history.

(73)   Assignee: Match.Com, L.L.C., Dallas, TX (US)                    (56)                        References Cited

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(21)   Appl. No.: 15/016,662                                                                           (Continued)

(22)   Filed:       Feb. 5, 2016
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                Related U.S. Application Data                          Feb. 5, 2016.
(63)   Continuation of application No. 14/059,192, filed on                                            (Continued)
       Oct. 21, 2013, now Pat. No. 9,733,811, which is a
                        (Continued)                                    Primary Examiner - Carol Choi
                                                                       (74) Attorney, Agent, or Firm - Baker Botts, L.L.P.
(51)   Int. Cl.
       G06F 17/30             (2006.01)                                (57)                           ABSTRACT
       G06F 3/0484            (2013.01)                                A method for profile matching includes receiving a plurality
       G06Q 10/10             (2012.01)                                of user profiles, each user profile comprising traits of a
       G06Q 30/02             (2012.01)                                respective user. The method includes receiving a preference
       G06Q 50/10             (2012.01)                                indication for a first user profile of the plurality of user
       G06Q 50/00             (2012.01)                                profiles. The method also includes determining a potential
       G06F 3/0482            (2013.01)                                match user profile of the plurality of user profiles based on
       G06F 3/0488            (2013.01)                                the preference indication for the first user profile. The
(52)   U.S. Cl.                                                        method also includes presenting the potential match user
       CPC ........ G06F 3/04842 (2013.01); G06F 3/0482                profile to a second user.
                  (2013.01); G06F 3/0488 (2013.01); G06F
                       17/30554 (2013.01); G06F 17/30657                                  6 Claims, 11 Drawing Sheets




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                                                                                                                  FIG. JC
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                I._ \'.
                               NAME                       : PROPERTY 1 . PROPEHlY 2
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             · • Jane Roe_.,-30b


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                 ,Jane Loe -..._ SOd
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                                                   FIG. JD
                                                                        '"'-"'--'"---·    .   . .   .. .. .   ... .   .   ..
                                              SEARCH RESULTS
          ~..........--__,..;;;.--·-----------····--·····--- ··- - - - - - -.....- •. ·,                  ----- -c-----.



                  31
                          rl    1. Jane Doe/

                                2. Jane Roe/·
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                                    --tJ~iL. . . . .l
                                    Born: 10/01/75
                                    Hometown: Dallas, TX
                                    Likes: C!1ocolate, rollarb!ading
                                    Dislikes: Body odor. arrogance, foott)all


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                               Hl\RRY'S SEARCH RESULTS
                                                                                                rFIG. 2

                        I   Jane Doe
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                                          .FIG" 6                                                                                                                        Fl(}. 7


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                                         FIG. 8                                                                                                                          .F'IG. 9
U.S. Patent                     May 1, 2018            Sheet 6 of 11                                             US 9,959,023 B2




                                             GENERATE USER POOL
                                   _________                                                    ..__
                                                                                                  .··1004
                                                 DISPLAY USER POOL


                                        RECEIVE USER PREFERENCE




               .,....,,.~"!".        . ..    .
   YES ............... SECOND ·.. "'""'· .
    ······ _.,, USER LIKES FIRST
                        USER?



                                 . . "1012                                                              .... ~ 1014
                                                                     STORE FIRST
         ALLOW COMMUNICATION                                      USER'S PREFERENCE

                                                         ~..............................-.....- ..... ,........ .r:::.1,016 .......
                                                                        DO NOT ALLOW
                                                                       COMMUNICATION

                                                    FIG. 10
U.S. Patent     May 1, 2018             Sheet 7 of 11                          US 9,959,023 B2




                                        /"'"'1102
                      RECEIVE PAIR OF USER
                          IDENTIFIERS


                           .,.-,.---,.,,..,.-··"" """'---~..--1104
                 OK ./"_.,...-. VALIDATE              "',~ NO


      _______ r·'
              ALLOW
                      ,c1106 MATCH?                          .       ···--i_
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                                                                               c1_1DB __


         COMMUNICATION                                   COMMUNICATION

                               F"IG!. 11
U.S. Patent          May 1, 2018               Sheet 8 of 11             US 9,959,023 B2




              1/ . ·----~------------.._,)
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              ~ ct Matchmaker........ .·
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                                                      ~   Sent Matches




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                           .FIG. l2B
U.S. Patent                             May 1, 2018            Sheet 10 of 11        US 9,959,023 B2




               -(-_-·-----·.  ----------)·
                   <s Matchmaker
                 ....................
                                       -.•             _-...
                                                                      ~   Sent Matches




    1206-


                Jonathan                              Mary Major
                           Smith
    1204·-




    1202·"-.




                                                      .FIG. .12C'
U.S. Patent          May 1, 2018                               Sheet 11 of 11                                           US 9,959,023 B2




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                                                     .FIG. 12.D
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        MATCHING PROCESS SYSTEM AND                                   tion. If the users with the most attractive profiles cease to use
                  METHOD                                              the system, the quality of the user pool deteriorates.

               RELATED APPLICATIONS                                                            SUMMARY

  This application is a continuation application of U.S.                 In one embodiment, a method for profile matching com-
patent application Ser. No. 14/059,192, entitled "MATCH-              prises receiving a plurality of user profiles, each user profile
ING PROCESS SYSTEM AND METHOD," filed Oct. 21,                        comprising traits of a respective user. It also comprises
2013, currently pending; which (a) is a continuation-in-part          receiving a preference indication for a first user profile of the
of U.S. patent application Ser. No. 12/339,301, entitled         10   plurality of user profiles. It further comprises determining a
"MATCHING PROCESS SYSTEM AND METHOD," filed                           potential match user profile of the plurality of user profiles
Dec. 19, 2008, now U.S. Pat. No. 8,566,327, issued Oct. 22,           based on the preference indication for the first user profile.
2013; and (b) claims benefit under 35 U.S.C. § 119(e) to              The method also comprises presenting the potential match
U.S. Provisional Application Ser. No. 61/793,866, entitled            user profile to a second user.
"SOCIAL MATCHING SYSTEM AND METHOD," filed                       15      Receiving a preference indication for a first user profile
Mar. 15, 2013.                                                        may include receiving from a third user a recommendation
                                                                      of the first user profile for the second user. It may also
                   TECHNICAL FIELD                                    include receiving from the second user a preference indica-
                                                                      tion for the first user profile. The method may further include
  This invention relates generally to computer matching          20   determining a score of a third user profile of the plurality of
systems and more particularly to a matching process system            user profiles as a potential match for the second user. It may
and method.                                                           also include altering the score of the third user profile based
                                                                      on the preference indication for the first user profile.
                     BACKGROUND                                          In another embodiment, a method for profile matching
                                                                 25   comprises receiving a plurality of user profiles, each user
   Networking architectures have grown increasingly com-              profile comprising traits of a respective user. The method
plex in communications environments. In recent years, a               further comprises receiving a request for matches from a
series of protocols and configurations have been developed            first user, the first user associated with a first user profile.
in order to accommodate a diverse group of end users having           The method also comprises scoring the plurality of user
various networking needs. Many of these architectures have       30   profiles for potential matching with the first user based on
gained significant notoriety because they can offer the               comparisons of the plurality of user profiles with the first
benefits of automation, convenience, management, and                  user profile. It also comprises identifying a second user
enhanced consumer selections.                                         profile of the plurality of user profiles as a potential match
   Certain network protocols may be used in order to allow            for the first user based on the scoring. The method further
an end user to conduct an on-line search of candidates to fill   35   comprises identifying commonality between a third user
a given vacancy. These protocols may relate to job searches,          profile of the plurality of user profiles and the second user
person finding services, real estate searches, or on-line             profile. In addition, the method comprises presenting to the
dating. While some believe that on-line dating is simply a            first user the third user profile as a potential match for the
matter of matching supply and demand, there is statistical            first user.
and empirical evidence to suggest that successful on-line        40      Depending on the specific features implemented, particu-
dating entails far more.                                              lar embodiments may exhibit some, none, or all of the
   For example, people having similar and/or compatible               following technical advantages. Various embodiments may
character traits and values should be matched together.               be capable of dynamically updating match search results
However, effectively linking two participants together can            based on user activity. Some embodiments may be capable
prove to be a challenging endeavor. Coordinating a relation-     45   of enhancing match search results by reducing the impact of
ship between two like-minded individuals can be a signifi-            restrictive user preferences. In addition, some embodiments
cant chore, as there are a number of obstacles and barriers           may provide the ability to evaluate the attractiveness of
that must be overcome.                                                potential matches. Various embodiments may be capable of
   One problem that has arisen is that matching services are          importing user profiles from other social-networking sys-
limited to searching for matches only within their own           50   terns. Some embodiments may be capable of generating the
platform. Thus, only people who have gone through the                 pool of users based on both explicit and implicit criteria
process of signing up for the service are searched for a              derived from other social networking systems. Other tech-
match. One solution to this problem is to have users register         nical advantages will be readily apparent to one skilled in the
in multiple services. This is problematic because it can be           art from the following figures, description and claims.
expensive and time consuming for users. Further, the user        55
must then visit all of the services to monitor the search                   BRIEF DESCRIPTION OF THE DRAWINGS
progress: this inefficiency may cause users to give up on the
search process.                                                          Reference is now made to the following description taken
   Another problem is that the search results of these ser-           in conjunction with the accompanying drawings, wherein
vices contain many irrelevant entities to the searcher. This     60   like reference numbers represent like parts, and which:
costs the user of the service time and may deter them from               FIG. lA is an overview of one embodiment of the
continuing through all of the search results.                         matching system;
   Another problem is that large numbers of unwanted                     FIG. lB shows the contents of the terminal from FIG. lA;
communication requests can become a nuisance to the user.                FIG. lC shows the contents of the matching server from
Too many nuisance requests may deter the user from further       65   FIG. lA;
use of the system. Users with the most attractive profiles are           FIG. lD is a diagram of a database from FIG. lC showing
oftentimes the ones that receive the most unwanted atten-             one embodiment of how a matching server stores a pool;
                                                    US 9,959,023 B2
                              3                                                                      4
   FIG. lE is a diagram of the display from FIG.1B showing                In one embodiment, terminal 10 represents (and is inclu-
one embodiment of the presentation of search results to a              sive of) a personal computer that may be used to access
user;                                                                  network 24. Alternatively, terminal 10 may be representative
   FIG. lF is a diagram of the display from FIG. 1B showing            of a cellular telephone, an electronic notebook, a laptop, a
one embodiment of the presentation of details of a match          5    personal digital assistant (PDA), or any other suitable device
result entity to a user;                                               (wireless or otherwise: some of which can perform web
   FIG. 2 is a diagram depicting how a user may recommend              browsing), component, or element capable of accessing one
an entity to another user, in accordance with a particular             or more elements within system 100. Interface 16, which
embodiment;                                                            may be provided in conjunction with the items listed above,
   FIG. 3 is a diagram of the display from FIG. lB depicting      10   may further comprise any suitable interface for a human user
how the user may be made aware of fate characteristics the             such as a video camera, a microphone, a keyboard, a mouse,
user shares with a match result entity, in accordance with a           or any other appropriate equipment according to particular
particular embodiment;                                                 configurations and arrangements. In addition, interface 16
   FIG. 4 is a diagram depicting how two platforms may be              may be a unique element designed specifically for commu-
searched for a match, in accordance with a particular             15   nications involving system 100. Such an element may be
embodiment;                                                            fabricated or produced specifically for matching applica-
   FIG. 5 is a flow chart indicating how a result list may be          tions involving a user.
generated, in accordance with a particular embodiment;                    Display 12, in one embodiment, is a computer monitor.
   FIG. 6 shows one embodiment of the matching system                  Alternatively, display 12 may be a projector, speaker, or
displaying to a user the profile information of a second user;    20   other device that allows user 14 to appreciate information
   FIG. 7 is a diagram of the display from FIG. 6 showing              that system 100 transmits.
the effect of a left swipe gesture;                                       Network 24 is a communicative platform operable to
   FIG. 8 is a diagram of the display from FIG. 6 showing              exchange data or information emanating from user 14.
the effect of a right swipe gesture;                                   Network 24 could be a plain old telephone system (POTS).
   FIG. 9 shows the matching system displaying a match of         25   Transmission of information emanating from the user may
a first user and a second user, in accordance with a particular        be assisted by management associated with matching server
embodiment;                                                            20 or manually keyed into a telephone or other suitable
   FIG. 10 is a flowchart depicting a method for enabling              electronic equipment. In other embodiments, network 24
communication between two users of the matching system                 could be any packet data network offering a communications
of FIG. 1 based on a mutual expression of approval, in            30   interface or exchange between any two nodes in system 100.
accordance with a particular embodiment;                               Network 24 may alternatively be any local area network
   FIG. 11 is a flowchart depicting a method for enabling              (LAN), metropolitan area network (MAN), wide area net-
communication between two users of the matching system                 work (WAN), wireless local area network (WLAN), virtual
of FIG. 1 based on a user suggested matching proposal, in              private network (VPN), intranet, or any other appropriate
accordance with a particular embodiment; and                      35   architecture or system that facilitates communications in a
   FIGS. 12A-D depict embodiments of a user interface.                 network or telephonic environment, including a combination
                                                                       of any networks or systems described above. In various
                DETAILED DESCRIPTION                                   embodiments, network connections 22 may include, but are
                                                                       not limited to, wired and/or wireless mediums which may be
   Referring to FIG. lA, one embodiment of a matching             40   provisioned with routers and firewalls.
system is shown. FIG. lA is a simplified block diagram of                 Matching server 20 is operable to receive and to commu-
a system 100 for facilitating an on-line dating scenario in a          nicate information to terminal 10. In some embodiments,
network environment. In other embodiments, system 100                  matching server 20 may comprise a plurality of servers or
can be leveraged to identify and to evaluate suitable candi-           other equipment, each performing different or the same
dates in other areas (e.g. hiring/employment, recruiting, real    45   functions in order to receive and communicate information
estate, general person searches, etc.). Users 14 interact with         to terminal 10. Matching server 20 may include software
a matching server 20 through terminals 10. FIG. lB is a                and/or algorithms to achieve the operations for processing,
diagram showing, in one embodiment, the contents of ter-               communicating, delivering, gathering, uploading, maintain-
minal 10. Terminal 10 comprises interface 16 (so that user             ing, and/or generally managing data, as described herein.
14 may be able to interact with terminal 10) and display 12.      50   Alternatively, such operations and techniques may be
FIG. lC is a diagram showing, in one embodiment, the                   achieved by any suitable hardware, component, device,
contents of matching server 20. Matching server 20 com-                application specific integrated circuit (ASIC), additional
prises memory 26 and at least one CPU 28. Memory 26 may                software, field programmable gate array (FPGA), server,
store multiple databases, such as databases 26a and 26b.               processor, algorithm, erasable programmable ROM
Terminal 10 and matching server 20 are communicatively            55   (EPROM), electrically erasable programmable ROM (EE-
coupled via network connections 22 and network 24.                     PROM), or any other suitable object that is operable to
   Users 14 are clients, customers, prospective customers, or          facilitate such operations.
entities wishing to participate in an on-line dating scenario             In some embodiments, user 14, using terminal 10, regis-
and/or to view information associated with other participants          ters with matching server 20. Registration may include user
in the system. Users 14 may also seek to access or to initiate    60   14 submitting information to matching server 20 about user
a communication with other users that may be delivered via             14 as well as characteristics user 14 is seeking to be matched
network 24. Users 14 may review data (such as profiles, for            with. Such information may include a user handle, which
example) associated with other users in order to make                  may be a combination of characters that uniquely identifies
matching decisions or elections. Data, as used herein, refers          user 14 to matching server 20. In various embodiments,
to any type of numeric, voice, video, text, or script data, or    65   matching server 20 may be configured to collect this infor-
any other suitable information in any appropriate format that          mation; for example, matching server 20 may be configured
may be communicated from one point to another.                         to ask user 14 to respond to a series of questions. Matching
                                                    US 9,959,023 B2
                              5                                                                      6
server 20 may be configured to receive the information                 matching server 20 provides for user 14 is shown. Using
submitted by user 14 and create a profile for user 14 based            display 12, user 14 views an entity from result list 31.
on that information, storing the profile in memory 26.                 Matching server 20 may also provide user 14 with the ability
   As an example only, consider a case where user 14 is                to contact the entity through a contact button 35. In one
interested in participating in an on-line dating scenario. User   5    embodiment, when contact button 35 is utilized by user 14,
14 can access the Internet via terminal 10, travel to a web            matching server 20 may provide user 14 with contact
site managed by matching server 20, and begin the regis-               information of the entity such as a telephone number or an
tration process. As part of the registration process, matching         e-mail address; in another embodiment, matching server 20
server 20 may ask user 14 a series of questions which                  may provide user 14 with a way to directly contact the entity,
identifies characteristics about user 14. Thus, matching          10   such as sending a message or providing voice or video
server 20 may ask about the height, weight, age, location,             communication between user 14 and the entity. Even further,
and ethnicity ofuser 14. It may also ask about the birthplace,         matching server 20 may be configured to allow user 14 to
parents, eating habits, activities, and goals of user 14.              express a negative preference for the entity through dislike
Matching server 20 may further use the registration process            button 36. In one embodiment, when, for example, dislike
to discover what user 14 may be looking for in a match, such      15   button 36 is utilized by user 14, matching server 20 may
as age, weight, height, location, ethnicity, diet, education,          remove the entity from result list 31; in another embodiment,
etc. Further, matching server 20 may ask user 14 to indicate           the entity may be removed from pool 30 of users from which
how important certain factors are when looking for a match.            matches are identified.
For example, matching server 20 may allow the user to                     As an example only, consider that user 14 has submitted
indicate which characteristics in a potential match are a         20   a search request to matching server 20. Matching server 20
necessity. In another example, matching server 20 may ask,             may search through pool 30, identify results, and commu-
"How important is it that your match does not smoke?"                  nicate result list 31 to user 14 which would contain other
Matching server 20 may also allow the user to indicate that            users for whom matching server 20 had created a profile and
certain characteristics are not important search criteria. For         who were identified through a search and selection process.
example, when asking user 14 about what height or weight          25   Next, user 14 may be interested in learning more about Jane
user 14 is seeking in a match, matching server 20 may be               Doe, entity 31a; thus, user 14 would click view button 33
configured to receive "not important" as a response. In yet            associated with Jane Doe. Matching server 20 would receive
another example, matching server 20 may allow user 14 to               this request and respond by displaying Jane Doe's profile
rate which factors are important on a numerical scale. For             (stored in memory 26), as depicted in FIG. lF. Next, after
example, matching server 20 may ask user 14 the following:        30   reading the profile, user 14 may be interested in contacting
"On a scale of 1-10, how important is it that your match has           Jane Doe; hence, user 14 would click contact button 35.
the same education level as you?" In some embodiments,                 Matching server 20 would respond by allowing user 14 enter
matching server 20 may specify that any number of ques-                a message that matching server 20 would then communicate
tions or requested descriptions are necessary before regis-            to Jane Doe.
tration may be concluded. As an example only, matching            35      Matching server 20 may even further be configured to
server 20 may require that user 14 communicate the sex of              allow user 14 to store a match result entity; in one embodi-
user 14 and the sex user 14 prefers to be matched with. After          ment, the system may be configured to allow user 14 to
concluding the registration process, matching server 20 may            utilize favorite button 34 that will add the desired match
store the responses of user 14 as a profile. This same process         result entity into another list. In another embodiment, uti-
may be repeated by several different users 14, causing            40   lizing favorite button 34 will remove the associated match
matching server 20 to contain a plurality of profiles.                 result entity from result list 31.
   FIG. lD depicts an embodiment in which matching server                 As an example only, user 14 may decide that he would
20 has a database 26a which contains a pool 30. Each entry             like to save Jane Doe's profile so that he can review it later.
in database 26a has a pool entity 30a along with information           User 14 may click favorite button 34, and matching server
concerning that entity. In one embodiment, each pool entity       45   20 may respond by placing Jane Doe's profile into a separate
30a-e represents a user and their profile. In some embodi-             list. Further, matching server 20 may also remove Jane Doe
ments, not all registered users are in pool 30. As discussed           from user's 14 result list 31. As a result, user 14 may see
further below, matching server 20 may use a selection                  another match result entity populate result list 31. This is
process for including stored profiles in pool 30. As depicted          beneficial because it may focus user 14 on evaluating new
in FIG. lD, in this embodiment, the collection of users and       50   entities rather than reevaluating previously-known entities
profiles forms pool 30 through which matching server 20                because the entities still appear in result list 31.
may perform various functions such as searches for matches.               In some embodiments, matching server 20 may be con-
   Matching server 20 may be configured to search through              figured to generate pool 30 by default according to various
pool 30 and present matches to user 14. In FIG. lE, one                characteristics and preferences of user 14 and other users of
embodiment of this presentation is depicted as occurring          55   the system. Matching server 20 may also restrict entities
through display 12. In various embodiments, matches may                from being included in pool 30 based on the status of the
be presented to user 14 utilizing other communication                  profile, or if user 14 has rejected or blocked an entity.
schemes, such as electronic messages (i.e., e-mail) or text            Matching server 20 may also restrict entities from the pool
messages (i.e., utilizing SMS). In the depicted embodiment,            that have blocked or rejected user 14. For example, match-
a result list 31 is presented to user 14. A match result entity   60   ing server 20 may not allow profiles that are not in good
31a in a result list 31 may be associated with a view button           standing to be included in pool 30. In other embodiments,
33. Using interface 16, user 14 may request that matching              matching server 20 may be configured to generate pool 30
server 20 provide more information about an entity in result           by first choosing seeds. Seeds include, but are not limited to,
list 31 by pressing the associated view button 33. Matching            profiles that user 14 has sent a message to or profiles that
server 20 may then communicate to user 14 more informa-           65   user 14 has expressed a preference for. Each seed is then
tion about that entity by retrieving the information from              compared to other entities to determine which entities will
memory 26. In FIG. lF, one embodiment of information that              be included in pool 30. Any suitable method can be used to
                                                    US 9,959,023 B2
                              7                                                                       8
determine which entitles are included in pool 30. For                  Lucy's (whose commonality score was less than the thresh-
example, any characteristics or algorithms described herein            old score). Thus, user 14 gets the benefit of having more
may form the basis of such a determination. As another                 entities identified that may be good matches.
example, a commonality score may be generated based on                    In some embodiments, matching server 20 may be con-
the comparison between each entity and the seed. In some          5    figured to include behavioral scales. These may include
embodiments, this commonality score can be a measure of                multi-item scales for materialism and gender-role tradition-
how physically similar the users are to each other. This score         alism. Such scales may provide the advantage of improved
may be generated based on the number of users that have                matching through deeper appreciation for the personality of
expressed a positive preference for both the seed and the              entities in the system.
entity being compared. This score may also be generated           10
                                                                          In some embodiments, matching server 20 may be con-
based on whether the seed and entity have been viewed
                                                                       figured to analyze profile text for categories. It may search
together in one session; further, the more times the seed and
                                                                       for a number of text strings and then associate the profile
entity have been viewed together, the larger the common-
ality score. The law of large numbers may allow for a vast             ~ith any number of categories. As an example only, match-
amount of such commonalities to be established over a few         15
                                                                       mg server 20 may add any profile to the Cat category whose
days. Testing has revealed that using such commonality                 text contains any of the following strings:
                                                                         "cat" "cats" "cat." "cats." "cat," "cats,"
scoring methods has yielded at least one physical match for
80% of users whose profile has been viewed at least once               Matching server 20 may be configured to make it more
and between 6 and 1000 physical matches for 60% of user~               likely that a profile will be in a result list if categories
whose profile has been viewed at least once. Matching             20
                                                                       associated with the profile are also categories found in the
server 20 may be further configured to allow entities that             user's profile who submitted the search request.
have a commonality score above a certain threshold to                     Matching server 20 may be configured to analyze one or
become a part of pool 30. Matching server 20 may further               more portions of the text of an entity's profile and generate
be configured to update pool 30. In some embodiments,                  a readability score that may be used in various ways, such
matching server 20 may do so by creating new seed entities        25
                                                                       as in the process of searching for matches for user 14. In
based on activity by user 14, such as indicating a preference          some embodiments, matching server 20 may analyze factors
for that entity. Further, matching server 20 may then com-             such as, but not limited to: average number of words per
pare the chosen seed entity with other profiles stored in              sentence, total number of words with greater than three
matching server 20 and determine whether those profiles                syllables, and total number of words in the profile. Matching
will be included in pool 30 using a threshold score as            30
                                                                       server 20 may also concatenate all of the collected responses
described above. At least one advantage realized by this               with a single space between them. It may further break the
embodiment is that user 14 is presented with updated                   text into sentences, words, and syllables. From these statis-
potential matches which increases the likelihood of user 14            tics, matching server 20 may also be configured to generate
finding a suitable match. Another advantage present in                 a readability score by, in one embodiment, taking the aver-
certain embodiments is that these updated potential matches       35
                                                                       age of the Flesch Kincaid Reading Ease test, the Flesch
have a greater likelihood of compatibility with user 14 since          Kincaid Grade Level test, and the Gunning Fox score. Other
they are chosen based on their commonality with entities               embodiments may utilize any other combination of these or
user 14 has expressed a preference for.                                other tests to determine a readability score. In some embodi-
   As an example only, consider the case in which user 14              ments, analyses may be used to determine the IQ of an
has registered, requested a search, and received from match-      40
                                                                       entity, the grade level of the writing, or how nervous the
ing server 20 results list 31. Then, user 14 decides to contact        entity generally is. An advantage of this embodiment may be
Jane Doe and presses contact button 35. Aside from provid-             that the system provides user 14 with a metric for determin-
ing user 14 with the ability to contact Jane Doe, matching             ing approximate intelligence of other users. The readability
server 20 will designate Jane Doe's profile as a seed.                 score may be used, for example, in the matching process to
Matching server 20 will then compare Jane Doe's profile to        45
                                                                       identify potential matches.
other profiles stored in memory 26 in order to identify other             As an example only, the Flesch Kincaid Reading Ease
users who may be similar to Jane Doe and thus be a good                score may be generated by first computing the following
match for user 14. In this example, matching server 20 will            intermediate score:
generate a commonality score for each of these comparisons
                                                                            206.835-(1.015*[Average Words per Sentence])-
and compare these scores to a preset threshold. If the            50
                                                                                (84.6*[Average Syllables per Word])
commonality score is lower than the threshold, that profile
will not be added to pool 30. However, if the commonality              Then, the Flesch Kincaid Reading Ease score is determined
score is higher than the threshold, matching server 20 will            by using the following table:
add this profile to pool 30. As an example, further assume
that the seed, Jane Doe, is being compared to another entity      55
Susan Smith. Based on the fact that both Susan and Jan~                            Intermediate                Flesh Kincaid
                                                                                 Score Condition             Reading Ease Score
have three users (Tom, Dick, and Harry) who have expressed
a positive preference for their profiles, matching server 20                          <100                            4
generates a commonality score of 100 for the comparison. In                            <91                            5
                                                                                       <81                            6
contrast, matching server 20 generated a commonality score        60
                                                                                       <71                            7
of 50 for the comparison between the seed (Jane Doe) and                               <66                            8
yet another entity, Lucy Goosey. This was because only one                             <61                            9
user (Bob) had indicated a positive preference toward both                             <51                           10
                                                                                       <31                           13
Lucy and Jane. Continuing the example, matching server 20                               <O                           14
is using a commonality threshold score of 70, which results       65                  Else                           15
in including Susan's profile (whose commonality score was
greater than the threshold score) in pool 30 and excluding
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                                 9                                                                     10
The Flesch Kincaid Grade Level may be computed accord-                  Sally have in common, the more likely it will be that
ing to the following:                                                   matching server 20 will include Sally's profile in Harry's
      (0.39*[Average Words Per Sentence])+(ll.8*[Aver-                  result list 31.
           age Syllables Per Word])-15.59                                  In some embodiments, matching server 20 may be con-
                                                                   5    figured to impute a level of physical attractiveness to an
The Gunning Fox score may be computed according to the
following:                                                              entity in pool 30. Matching server 20 may be configured to
                                                                        monitor how frequent an entity in pool 30 has been viewed
      ([Average Words Per Sentence]+(([Nurnber Of
                                                                        as well as how many times that entity has been part of a
          Words With More Than 3 Syllables ]/[Number
          of Words In Entire Text])+l00))*0.4                           result list in order to impute the level of physical attractive-
                                                                   IO   ness. Matching server 20 may further be configured to
As indicated, any suitable tests may be utilized m any
                                                                        generate a score based on this data. Further, in some
suitable manner to determine a readability score.
                                                                        embodiments, matching server 20 may impute physical
   In some embodiments, matching server 20 may be con-
figured to allow a user to interact with the result list of             attractiveness to an entity based on the imputed physical
another user. Matching server 20 may be configured to allow        15
                                                                        attractiveness scores of other entities. Matching server 20
a user to express a preference for entities within a result list        may compute an average of the imputed physical attractive-
of another user, and to indicate to the other user of this              ness scores of the other entities weighted by the common-
preference. Thus, a user may be able to get advice from a               ality score between each of the other entities and the present
friend regarding what other users may constitute good                   entity. Empirical data indicates that people are more likely
matches for the user and thus be able to find a better match.      20   to match with people of similar attractiveness. Thus, in many
   As an example only, consider FIG. lA and FIG. 2. Two                 embodiments, a user may obtain an advantage in that they
users 14, Harry and Sally, are connected to matching server             are able to be presented with potential matches that, accord-
20 via terminals 10. Display 12a is used by Harry while                 ing to one measurement, are as attractive as the user.
display 12b is used by Sally. Matching server 20 allows                    As an example only, consider a registered user, Sally,
Sally to view Harry's result list 31 on her terminal in display    25   whose profile was created by matching server 20 in January.
12b. By pressing recommend button 37, Sally may indicate                Since that time, matching server 20 has recorded the number
a preference for one or more of the entities in result list 31.         of times Sally's profile has appeared in any user's result list
Assume Sally presses recommend button 37 associated with                31; assume that this has occurred 10 times. Further, match-
Jane Loe. After doing so, matching server 20 will notify                ing server 20 has also recorded the number of times a user
Harry of Sally's preference. On Harry's display 12a, match-        30   has viewed Sally's profile by clicking view button 33
ing server 20 will cause notification 39 to appear, associating         associated with Sally's profile; assume that this has hap-
it with Jane Loe. Notification 39 will indicate to Harry that           pened 5 times. In this manner, matching server 20 has
Sally has recommended Jane Loe as a potential match. Harry              constructed a ratio that represents the imputed physical
may find Sally's preference helpful in determining which                attractiveness of Sally's profile. Still further, assume that
entities he should pursue further if, for example, he believes     35   Harry, a registered user, now submits a query. Matching
Sally understands the type of person he is looking for.                 server 20 has evaluated the imputed physical attractiveness
   In one embodiment, matching server 20 may be config-                 ratio of Harry's profile. When evaluating Sally's profile for
ured to analyze the profiles of both user 14 and the entities           inclusion in result list 31 returned to Harry, matching server
in pool 30 for keywords. Matching server 20 may be                      20 will compare the imputed physical attractiveness of
configured to search through the profile of user 14 for            40   Sally's profile and Harry's profile. The more similar the
keywords that relate to things such as activities and interests.        ratios associated with Harry and Sally's profiles are to each
Matching server 20 may generate a score for each entity in              other, the more likely it is that Sally's profile will be selected
pool 30 based on a comparison between the list of keywords              by matching server 20 to be in Harry's result list 31. In
found in user's 14 profile and a similarly-generated list of            another example, assume that Sally's profile has not been
keywords of each entity in pool 30. In one embodiment, this        45   registered long enough to generate a meaningful imputed
is accomplished by storing a list of words in memory 26, and            physical attractiveness ratio. Matching server 20 may then
using it to identify keywords in the searched profiles. In              generate an imputed physical attractiveness score based on
some embodiments, identified keywords may be used as a                  entities that Sally does have commonality scores with. This
means of weighting various scores. As an example only, a                computed average may be weighted by the strength of the
profile that contains the word "God" may be weighted much          50   commonality score between Sally and each entity with
differently than a profile which has merely indicated that              whom she has a commonality score. Continuing the
their religious preference is Christian. In various embodi-             example, assume that Sally has a commonality score of 5
ments, this may provide an advantage to user 14 in that user            with Lucy and 10 with Julia. When matching server 20
14 is able to determine how similar he/she is with a potential          computes the Sally's average, it will give twice as much
match. In addition, the keyword analysis may be used by the        55   weight to Julia's imputed physical attractiveness score than
system when searching and identifying matches for a user.               to Lucy's.
   As an example only, consider two registered users, Harry                In some embodiments, matching server 20 may be con-
and Sally, both of whom have profiles stored in matching                figured to make an entity in result list 31 more appealing to
server 20. Matching server 20 then analyzes each of these               user 14 by pointing out coincidences in the profile data that
profiles by comparing it to a list of predefined keywords.         60   give user 14 a sense of fate with the entity. In one embodi-
Matching server 20 then associates each word that matched               ment, matching server 20 may be configured to search for
the list of keywords with each profile. Now assume that                 similar initials, birthplaces, birth dates, birth month, birth
Harry performs a search. While fulfilling Harry's query,                year, university, first names, last names, user handles, paren-
matching server 20 evaluates Sally's profile for inclusion in           tal occupations, and keywords to identify users who may
Harry's result list 31. This evaluation includes comparing         65   give another user a sense of fate. In other embodiments,
the list of keywords found in Harry's profile to the keywords           matching server 20 may use the fate characteristics as a
found in Sally's profile. The more keywords that Harry and              metric in the matching process.
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                              11                                                                      12
   As an example only, assume that Harry is a registered user           30a if user 14 and pool entity 30a have the same income,
who has performed a search. After matching server 20                    education, and age. An advantage realized in several
returns a result list, Harry chooses to learn more about one            embodiments is that it better approximates how a user
of the entities in the result list and clicks view button 33.           evaluates entities. Entities that live further away are gener-
Consider FIG. 3, which is only an example of information           5    ally less appealing to a user; but, users may still be interested
that matching server 20 may return to Harry after clicking              if the entity matches their preferences in other categories.
view button 33. In Harry's display 12, matching server 20                  As an example only, consider a registered user, Harry,
presents certain details about the profile. In particular,              who submits a search request. While fulfilling this request,
matching server 20 presents to Harry a fate notification 32             matching server 20 examines Sally's profile in pool 30, and
which points out specific similarities between the profile of      10   determines that the stated locations of Harry's and Sally's
the entity and Harry's profile. Reading fate notification 32            profiles are 13 miles apart. Matching server 20 will give
gives Harry a sense of familiarity which enhances his                   Sally's profile a score as if the distance between them were
appreciation for the profile.                                           only 10 miles. However, in yet another example, Sally's
    In another example, fate characteristics may be used to             profile may indicate that she lives 50 miles away from Harry.
decide whether a profile in pool 30 is included in user's 14       15   Yet, matching server 20 also notes that both Harry and Sally
result list 31. Assume that Harry is a registered user who has          make $100,000 per year, have Master's degrees, and that
submitted a matching query to matching server 20. While                 Harry and Sally are one year apart in age (Harry is older).
determining which entities to include in Harry's result list,           Given these similarities, matching server 20 will give a score
matching server 20 considers two profiles: Sally and Roxy.              to Sally's profile that is consistent with a 20 mile difference
Sally and Harry both have the same birth date, initials, and       20   in location even though they are actually 50 miles apart. In
have parents that work in the same profession. In contrast,             this manner, matching server 20 takes into account empirical
Roxy and Harry only share the same birth place. Matching                data that shows that people searching for matches who
server 20 may be configured to award more points to Sally               indicate that they want to see matches who live close to them
than to Roxy based on these comparisons, making it more                 are still willing to pursue a potential match that lives far
likely that Sally's profile will be included in Harry's result     25   away if the potential match fits very closely with the other
list.                                                                   search criteria.
    In some embodiments, matching server 20 may be con-                    In another embodiment, matching server 20 may be
figured to evaluate the likelihood of contact between user 14           configured to evaluate the age difference between user 14
and an entity in pool 30. Matching server 20 may be                     and pool entity 30a using ranges as well as a sliding scale.
configured to compare demographic data between user 14             30   By way of example only, matching server 20 may be
and pool entity 30a. In another embodiment, matching                    configured to assign a high value to an age difference
server 20 may be configured to weigh the demographic                    between O and -5, while assigning a lower value to an age
similarities and differences based on the sex of user 14. The           difference between +2 and 0. An even lower value may be
demographic data may include, but is not limited to, age,               assigned to an age difference between -6 and -8. Even lower
education, ethnicity, income, and location.                        35   values would be assigned incrementally as the age difference
   As an example only, assume that Harry and Sally are                  increases outside of the ranges discussed. The higher the
registered users who have profiles in matching server 20.               assigned value is, the more likely it will be that pool entity
Harry has submitted a search request to matching server 20.             30a will be included in result list 31. Yet another embodi-
While fulfilling this request, matching server 20 evaluates             ment may apply this combination of ranges and a sliding
Sally's profile since her profile is in pool 30. As part of the    40   scale but use different values and ranges depending on the
evaluation, matching server 20 looks at the differences                 sex of user 14.
between Harry and Sally's stated age, income, education,                   As an example only, consider a situation in which a
ethnicity, and location. In this example, Harry is 10 years             registered user, Harry, requests a search to be performed.
older than Sally, makes $10,000 more per year, and has a                While fulfilling this request, matching server 20 evaluates
Master's degree while Sally has a bachelor's degree. Even          45   Sally's profile, which was in pool 30. As part of the
with these disparities, matching server 20 will give Sally's            evaluation, matching server 20 compares the ages of Harry
profile a high score which makes it more likely that Sally's            and Sally, and determines that Harry is two years older than
profile will appear in Harry's result list. However, if it was          Sally; this determination leads to matching server 20 assign-
Sally who submitted the search, and matching server 20 was              ing, in this example, 50 points to Sally's profile. Matching
evaluating Harry's profile, a different score is possible. So,     50   server 20 may also be configured to assign 50 points to
if it were Sally who was 10 years older, made $10,000 more              Sally's profile had she been five years younger than Harry;
per year, and had a Master's degree while Harry had a                   but, if she had been up to two years older than Harry,
Bachelor's degree, matching server 20 would give a low                  matching server 20 may have been configured to assign 40
score to Harry's profile, making it less likely that his profile        points to her profile. Matching server 20 may be further
would appear in Sally's result list. Matching server 20 may        55   configured to assign 30 points to Sally's profile if she was 6
be configured this way because empirical data has shown                 to 8 years younger than Harry. However, if Sally were more
that these demographic differences do not have an equiva-               than 8 years younger than Harry, matching server 20 may be
lent effect on the choices men and women make regarding                 configured to further decrease the number of points assigned
matches.                                                                to her profile: if she was 9 years younger, then 25 points; if
    In another embodiment, matching server 20 may be               60   she was 10 years younger, 20 points; if she was 11 years
configured to compare the locations of user 14 and pool                 younger, 15 points; etc. The more points assigned to Sally's
entity 30a in increments of ten miles. In yet another embodi-           profile, the more likely it is that her profile will appear in
ment, matching server 20 may be configured to score the                 Harry's result list. Thus, matching server 20 may be con-
location comparison in light of other factors; as an example,           figured to assign a score based on age difference using a
matching system 20 may be configured to return a score             65   combination of ranges and a sliding scale.
consistent with a 10 mile difference in location even though               In another example, matching server 20 may assign scores
there is a 50 mile difference between user 14 and pool entity           differently if it was Sally who was searching and if it was
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                               13                                                                       14
Harry's profile that was being evaluated. In this example,                5 may be more likely to appear in the user's result list than
matching server 20 may be configured to assign Harry's                    an entity with an average rating of 2.
profile 50 points ifhe were between 1 and 5 years older than                 In another example, assume that Harry is a registered user
her. If he were 6 to 8 years older than her, matching server              and has requested a search. While fulfilling this request,
20 may assign 45 points. If he were greater than 8 years             5    matching server 20 evaluates Sally's profile. As part of this
older than her, matching server 20 may assign points in the               evaluation, matching server 20 notices that Sally's profile
following fashion: if he was 9 years older, 40 points would               contains feedback from other users ranking the attractive-
be assigned; if he was 10 years older, 35 points would be                 ness of Sally's profile. Matching server 20, in this example,
assigned; etc. However, if he was up to two years younger                 averages that data; Sally's profile average is 6. Matching
                                                                     10   server 20 may then examine Harry's profile to determine a
than Sally, matching server 20 may assign 50 points to his
                                                                          similar average. If Harry's profile has an average close to 6,
profile. If he were more than two years younger, matching
                                                                          it will be more likely that matching server 20 will include
server 20 may assign less points on a sliding scale: 45 points
                                                                          Sally's profile in Harry's result list. If Harry's profile
if he were 3 years younger, 40 points if he were 4 years                  average is lower than 6, it will be less likely that Sally's
younger, etc. The more points assigned to Harry's profile,           15   profile will be included in Harry's result list. If Harry's
the more like it is that his profile will appear in Sally's result        profile average is greater than 6, it will be even less likely
list. This example illustrates how matching server 20 may be              that Sally's profile will be included in Harry's result list. The
configured to take the sex of user 14 into account when                   more Harry's profile average deviates from that of Sally's,
scoring based on age differences.                                         the less likely it will be that matching server 20 will present
   In various embodiments, matching server 20 may be                 20   Sally's profile in Harry's result list.
configured to evaluate the attractiveness of an entity in pool               In some embodiments, matching server 20 may be con-
30 through collected feedback from other users. In one                    figured to analyze profile information and received activity
embodiment, matching server 20 may present an entity to                   information to construct "pairs" which link at least two
user 14, prompting user 14 to rate the attractiveness of the              profiles. These pairings may also be associated with a value
entity on a scale from 1-9. This range gives the advantage of        25   that ascertains the quality of the pairing. For example, a
having a midpoint. Matching server 20 may further be                      pairing which results from one user viewing the profile of
configured to collect such responses and store them; in one               another user may be assigned a value that is less than a
embodiment, matching server 20 may store the data in                      pairing which results from a first user viewing the profile of
memory 26, using a structure such as database 26b. Match-                 a second user when the second user has also viewed the first
ing server 20 may further be configured to compute the               30   user's profile. Matching server 20 may use these pairings in
average of such responses for the entity, and store this                  order to generate search results for entities within and
number as well. In various embodiments, these values may                  outside of the pairing. Each member of the pair may be used
be used in order to help in the matching process. Empirical               as a seed entity for generating search results for users in
data indicates that people are more likely to match with                  matching server 20. In various embodiments, an advantage
people of similar attractiveness. Thus, in various embodi-           35   may be realized as matching server 20 analyzes many of
ments, users whose attractiveness rating are similar will be              these pairs to develop dynamic results to users of the system,
more likely to appear in each other's result list. Further, a             the results being potentially more relevant as matching
user may indicate that they only want profiles in their result            server 20 leverages the interaction between users and pro-
list whose average attractiveness rating is higher than an                files to generate search results.
indicated threshold.                                                 40      Pairs may be formed from a variety of user activity
   As an example only, assume registered user, Harry, uses                received by matching server 20. This activity may include:
terminal 10, which in this example is Harry's personal                    profile views, mutual profile views, one-way double blind
computer, and establishes communication with matching                     communication, mutual double-blind communication,
server 20. In this example, this communication occurs by                  declining double blind communication, one way wink,
Harry using a Web browser to access a Web page controlled            45   mutual wink, expressing disinterest in response to receiving
by matching server 20. Sometime after visiting the Web                    a wink, one way favorite, and mutual favorite. Other suitable
page, matching server 20 may present Harry with an option                 activity may also be received by matching server 20 and
to rate the physical attractiveness of other users registered             utilized as a basis for generating pairs.
with matching server 20. Using display 12 and interface 16,                  For example, Harry may be a registered user who has
Harry may view profiles of registered users and rank them            50   expressed a positive preference for Sally. Matching server
on a scale of 1-9 by entering the values using interface 16;              20 may be configured to generate a pair which includes
in this example, interface 16 comprises a mouse and/or a                  Harry and Sally. Matching server 20 may utilize this pair
keyboard. After submitting this rating, matching server 20                when providing search results to other users. Betty may have
will associate it with the profile and store it. Matching server          requested matches, and Betty may be similar to Sally.
20 will also allow other users to rate profiles, thereby             55   Matching server 20 may present Harry in Betty's result list
collecting a plurality of rankings for profiles. Matching                 as a result of the pairing between Harry and Sally. Further,
server 20 may use this data when trying to find matches for               Jim may have executed a search and Jim may be similar to
users. One example of this is that matching server 20 may                 Harry. As a result of the pairing between Sally and Harry,
allow user 14 to specify that he/she is searching for profiles            matching server 20 may present Sally in Jim's list of search
which have an average rating of 6 or above. In tum,                  60   results.
matching server 20 may populate user's 14 result list from                   In some embodiments, matching server 20 may be con-
the pool only with profiles whose average rating is at 6 or               figured to encourage user 14 to interact with entities in pool
above. Another example of how matching server 20 may use                  30. For example, matching server 20 may present a list of
this data involves making it more likely that an entity will              limited entities from pool 30 to user 14, but not present other
appear in a user's result list if the entity and that user have      65   entities to user 14 unless user 14 interacts with the already
a similar average attractiveness rating. So, if a user has an             presented entities. Possible interaction with these entities
average rating of 6, then an entity with an average rating of             may include viewing more information regarding the entity,
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                              15                                                                       16
expressing a positive or negative preference for the entity,             form 50. Matching server 20 may further be configured to
and choosing to contact the entity. Other suitable forms of              provide users of social networking platform 50 a service by
interaction may also be utilized. For example, matching                  which they may search for users within set 52 or within pool
server 20 may prompt the user with a question about the list             30 using the algorithms and processing of matching server
of entities, such as asking whether or not the user likes the       5    20. Matching server 20 may even further be configured to
entity. Responses to such prompts may include "yes,"                     allow users of matching server 20 to search through pool 30
"maybe," "no," "remove," and "remove other." The pre-                    and set 52. Matching server 20 may be configured to parse
sented entities may be chosen using a variety of methods.                the profiles of the entities in set 52, collecting data and
For example, the presented entities may be chosen based on               applying algorithms.
various scoring algorithms as described above. In addition,         10      In another embodiment, matching server 20 may be
presented entities may be chosen using predictive analysis,              configured to allow users of social networking platform 50
such as logistical regression. Other techniques may be used              to interact with matching server 20 using social networking
to determine the presented entities. For example, entities that          platform 50. This level of integration provides the advantage
have been presented previously may be excluded. As                       of users not having to learn and sign up for a different
another example, entities that have been blocked by user 14         15   platform.
may also be excluded. In various embodiments, a combina-                    Social networking platform 50, in one embodiment, may
tion of these techniques as well as others may be used to                be a service which stores profiles of its users. This service
determine the limited number of entities presented to user               may be further configured to provide access to the stored
14.                                                                      profiles. In one embodiment, social networking platform 50
   For example, Harry may be a registered user of the               20   may also allow other services to interact with users of social
matching system. Matching server 20 may be configured to                 networking platform 50 through social networking platform
present to Harry a list of five entities that Harry must interact        50.
with. Once Harry has interacted with these entities, match-                 In one embodiment, matching server 20 may be config-
ing server 20 may present five more entities for Harry to                ured to collect requests from users of social networking
interact with. Previously, Harry has blocked Sally, another         25   platform 50 and perform a search through pool 30 and set 52.
registered user of the system. As a result, matching server 20           Matching server 20 may further be configured to present the
may exclude Sally from being presented to Harry in the list              results of this search from within social networking platform
of five entities. Further, Harry has already interacted with             50. Matching server 20 may further be configured to present
Betty, another registered user of the system: Harry sent a               entities in the search result from pool 30 as if they were
message to Betty utilizing matching server 20. As a result,         30   entities of set 52; in one embodiment, matching server 20
Betty will be excluded from being presented to Harry in the              may be configured to generate profiles of entities from pool
list of five entities. Matching server 20 may then choose two            30 into set 52. Thus, users of social networking platform 50
of the five entities using scoring algorithms described above.           may view all of the entities in the search result, regardless
For example, matching server 20 may choose Alice and Amy                 of their source (either from pool 30 or set 52), within the
to be presented in the list of five entities because Alice and      35   environment of social networking platform 50.
Amy have received high scores when their profiles were                      As an example only, consider two users: Harry, for whom
compared to Harry's profile. Matching server 20 may                      matching server 20 has created a profile, and Sally, who has
choose the remaining three entities using predictive analysis.           a profile stored in social networking platform 50. From
According to this example, matching server 20 may use                    within social networking platform 50, matching server 20
logistical regression to identify Carla, Christi, and Camela as     40   presents to Sally the ability to perform a search which Sally
the other three entities to present to Harry. Thus, in this              uses. The results of this search are presented to Sally within
example, Harry is presented with a list of five entities by              social networking platform 50. In this example, Harry's
matching server 20. Matching server 20 may not present                   profile is displayed to Sally as a search result along with
another set of five entities until Harry has interacted with             other entities from set 52 though Harry's profile was from
these five entities. Harry may interact with these entities in      45   pool 30. In this example, matching server 20 uses the
a variety of ways. For example, Harry may send a message                 algorithms discussed herein and searches through the pro-
to Alice and send a "wink" to Amy. In addition, Harry may                files stored in pool 30 and set 52. In order to display Harry's
choose to view more information about Carla's profile, but               profile to Sally, matching server 20 creates a profile in set 52
express a negative preference towards Christi and Camela.                using the data stored in Harry's profile in pool 30. Sally is
After matching server 20 receives these types of interaction        50   then able to interact with this newly created profile from
with the presented five entities, another set of five entities           within social networking platform 50 in the same manner as
may be presented to Harry.                                               she is other entities in set 52.
   In this example, matching server 20 may further be                       In another embodiment, matching server 20 may be
configured to process the user interaction provided by Harry.            configured to allow its users to interact with social network-
For example, matching server 20 may utilize Alice's profile         55   ing platform 50 through matching server 20. In one embodi-
as a seed entity to generate other possible entities to present          ment, matching server 20 supplements pool 30 with set 52.
to Harry since Harry sent a message to Alice. Thus, a benefit            In yet another embodiment, entities from set 52 appear as
is from presenting a the five entities to Harry in that the              entities of pool 30 to the user in their list of search results.
interaction between Harry and these entities may be utilized             In one embodiment, matching server 20 may be configured
by matching server 20 to generate other entities for matching       60   to generate profiles within pool 30 from entities of set 52; the
to Harry. This serves as an example of how preferences may               system may be configured to do so through capabilities
be identified based on user behavior.                                    provided by social networking platform 50, such as an
   In FIG. 4, one embodiment is disclosed wherein matching               application prograniming interface.
server 20, with pool 30, may be configured to interact with                 As an example only, consider two users: Harry, whose
another platform, such as social networking platform 50,            65   profile is stored in matching server 20, and Sally, whose
containing a set 52 of users. Users 14 are communicatively               profile is stored in social networking platform 50. Harry
coupled to matching server 20 and social networking plat-                submits a search request to matching server 20. Matching
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                                 17                                                                          18
server 20 may return result list 31 to Harry, which, in this                                              -continued
example, contains an entity representing Sally's profile.
Matching server 20 may accomplish this by creating profiles                                                            Number of Points
                                                                              Condition                                  for Ordering
in pool 30 that correspond to the profiles found in set 52.
Once these profiles have been imported into pool 30, match-        5          Both have the same                           +131072
ing server 20 may then search through pool 30. While doing                    preference for drinking
                                                                              alcohol
so, matching server 20 applies the algorithms and scores                      Same answer for Ethnicity                      +1024
discussed herein. Thus, in this example, matching server 20                   Sarne answer for Fear                           +256
has been configured to both search and apply scoring                          Sarne answer for Hair                             +2
                                                                   10         Sarne answer for Number of                   +524288
algorithms to entities in pool 30 and set 52. Further, in one
                                                                              children
example, Harry is not able to distinguish that Sally's profile                Sarne answer   for   morning                     +32
was originally stored in social networking platform 50.                       Sarne answer   for   "must have"              +32768
Rather, matching server 20 presents Sally's profile in the                    Sarne answer   for   "night out"                 +16
                                                                              Sarne answer   for   "pets"                   +65536
same manner as other profiles stored in pool 30. Thus, in this
                                                                   15         Sarne answer   for   politics                  +8192
example, Harry may use favorite button 34, view button 33,                    Sarne answer   for   relationship                 +O
and contact button 35 when interacting with Sally's profile                   status
in the same manner as described above.                                        Sarne answer   for "romance"                    +512
   One advantage present in various embodiments is that a                     Sarne answer   for smoking                   +262144
                                                                              preferences
user has a wider pool of entities to search through. Another                  Sarne answer   for sports                         +8
advantage is that a user does not have to sign up with several     20         interests
platforms to search through the users on those platforms.                     Sarne answer   for "system"                    +4096
   FIG. 5 is a flowchart illustrating one embodiment of how
result list 31 may be generated. At step 62, matching server               As an example only, consider a registered user, Harry,
20 generates pool 30, as described above. At step 64,                   who desires to perform a search. Before processing the
matching server 20 applies a filter to pool 30, removing           25
                                                                        request, matching server 20 may ask Harry what sex he is
certain entities; in various embodiments, this filter is based
                                                                        and what sex does he desire to be matched with· in this
on user's 14 own sex and the sex user 14 desires to be
                                                                        example, Harry responds that he is a male seeking ; female.
matched with. At step 66, matching server 20 may be
configured to apply algorithms to pool 30 that will generate            After doing so, matching server 20 will generate pool 30 as
a plurality of scores for each entity in pool 30. In one           30   described above. Next, matching server 20 will apply a filter
embodiment, these algorithms may include analyzing the                  to remove certain entities from pool 30. In this example, all
text of the profiles of the entities in pool 30 to generate a           males will be removed from pool 30 since Harry is seeking
readability score, determining how attractive an entity of              a female. Further, all females seeking females will be
pool 30 is, or measuring how likely it is that user 14 will             removed from pool 30 since Harry is a male. In other
contact an entity of pool 30. At step 68, matching server 20       35   examples, other entities that are removed from pool 30
~ay be configured to collect all of the scores from step 66;            include entities that Harry has expressed a negative prefer-
m one embodiment, matching server 20 may use database                   ence for before, or entities that have expressed a negative
26b to store all of these scores. At step 70, matching server
                                                                        preference for Harry. After pool 30 has been filtered, match-
20 may be configured to apply an ordering algorithm which               ing server 20 applies a variety of scoring algorithms to the
will determine the order in which entities in result list 31 are   40   entities remaining in pool 30. These algorithms may account
presented to user 14. In one embodiment, this ordering                  t:or ".arious comparisons such as those based on readability,
algorithm is based, in part, on the scoring algorithms applied          hkehhood to contact, fate, and keywords described above.
at step 66. The ordering algorithm assigns points to each               Matching server 20 will then tabulate these scores, storing
entity and orders them based on these values, constructing              them, in this example, in database 26b. Matching server 20
result list 31. An embodiment of this ordering algorithm is        45   will then determine what order these entities are presented to
surmnarized in the following table:                                     Harry by applying an ordering algorithm. Here, matching
                                                                        server 20 assigns one ordering score to each entity by
                                                                        examining the results of the scoring algorithms. After doing
                                          Number of Points              so, matching server will present result list 31 to Harry, where
      Condition                             for Ordering           50   the order of the entities that appear in the result list is based
                                                                        on the ordering algorithm. In this example, it is possible for
      Readability score 1 point              +33554432
      higher than user
                                                                        result list 31 to change. Consider another user, Sally, who
      Match result entity has                +16777216                  appears in Harry's result list. If Harry decides to add her into
      expressed a preference for                                        a separate list by using favorite button 34, Sally will be
      the user                                                     55   removed from result list 31 (as described above). However,
      Match result entity has been            +8388608
      recommended by a friend of
                                                                        Sally will also become a seed entity from which entities may
      the user                                                          be added to pool 30 (as described above). Hence, matching
      User has viewed the details             +2097152                  server 20 will update the pool, apply the filters, apply the
      of match result entity                                            scoring algorithms, tabulate the results, apply the ordering
      Match result entity has                 +1048576
      commonality with an entity
                                                                   60   alg?rithm, and update result list 31. As another example, an
      user has expressed a                                              entity may update their profile which can change result list
      preference for                                                    31. ~or example, assume Sally's profile had an ordering
      Both have the same ambition                 +128                  algonthm score that placed her within the top 20 entities in
      Both have the same beliefs                +16384
      Same answer for Build                        +64
                                                                        result list 31. Sally then changes her profile which results in
      Same answer for Car                           +1             65   keywords that match Harry's profile being added to her
      Both have the same diet                       +4                  profile. Matching server 20 will then update her scoring
                                                                        algorithms. In this example, the change in Sally's profile and
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                              19                                                                      20
resulting increase in keyword matches with Harry's profile              facial recognition algorithms to detect ethnicity, hair color,
significantly increased her score. This was then reflected in           eye color, etc., of profiles that user 14 has expressed interest
the ordering algorithm as it was also applied to the updated            Ill.

profile. Afterwards, Sally's profile is now placed within the               In particular embodiments, matching server 20 may have
top 5 entities in result list 31.                                  5    users 14 to link their user profiles to an existing profile
   In some embodiments, matching server 20 may be con-                  within social networking platform 50. Matching server 20
figured to receive required characteristics from user 14                may be configured to generate and add profiles to user
regarding a match. User 14 may be allowed to specify such               profile pool 30 from entities of set 52; the system may be
restrictions based upon any number of characteristics,                  configured to do so through capabilities provided by social
                                                                   10   networking platform 50, such as an application program-
including those described herein. For example, matching
                                                                        ming interface. One advantage of linking is that matching
server 20 may allow user 14 to specify that entities that
                                                                        server 20 can use the authentication features provided by
indicate they have children should not be displayed. In
                                                                        social networking platform 50. For example, creating a user
another example, user 14 may specify that only entities                 profile on matching server 20 containing false information
between the ages of 20 and 30 should be present in result list     15   becomes harder when the information must come from
31. In some embodiments, matching server 20 may imple-                  another verifiable and peer monitored source such as social
ment these restrictions in step 64 of FIG. 5. In other                  networking platform 50.
embodiments, however, matching server 20 may refuse to                      In some embodiments, matching server 20 may allow a
apply these restrictions to certain entities based on the               user 14 to propose a match between two of his connections
characteristics of the entities. Any number of characteristics,    20   within social networking platform 50. For example, Harry
including those described herein, may form the basis upon               may be friends with both Bob and Sally within social
which matching server 20 decides not to apply the restric-              networking platform 50. Harry believes Bob and Sally are a
tions submitted by user 14. As an example only, matching                good match and therefore instructs matching server 20 to
server 20 may ignore the restrictions if the entity has a high          create a match between the two users in user profile pool 30.
enough attractiveness rating. In another example, though           25   Once matched, matching server 20 allows Harry and Sally
user 14 has requested that no profiles which are located more           to communicate with each other.
than 50 miles away should be present in result list 31,                     In some embodiments, matching server 20 may be con-
matching server 20 may include such profiles because those              figured to apply a relevance algorithm which determines the
profiles have over 5 matching keywords, a high attractive-              content and order in which matching server 20 displays
ness rating, and have specified the same life goals as user 14.    30   potential matches to user 14. A relevance algorithm may be
Thus, in some embodiments, matching server 20 may refuse                based on both explicit and implicit signals from user 14.
to apply restrictions submitted by user 14 based on any                 Explicit signals include information entered by user 14 as
combination of characteristics or algorithms.                           part of its user profile, such as height, weight, age, location,
   An advantage present in many embodiments is that                     income, and ethnicity. Explicit signals may also include
through taking into account various factors when scoring           35   information about the characteristics user 14 is seeking in a
potential matches and using only very few strict filters, a             match, such as gender, hair color, eye color, or occupation.
large amount of result entities may be returned to the user.            Explicit signals may also be entered by user 14 as part of a
A further advantage is that the ordering algorithm will put             search request. For example, user 14 may request matching
the most relevant search results first, saving the user time.           server 20 limit the pool of potential matches to those users
   FIGS. 6-9 depict embodiments of a user interface pre-           40   within a fixed geographic region. Matching server 20 is
sented to users of the matching system discussed above with             operable to compare geographic positions associated with
respect to FIGS. 1 and 4. According to some embodiments,                the plurality of user profiles in user profile pool 30 with a
users 14 interact with matching server 20 through interface             geographic position associated with user 14. Explicit signals
16 presented by terminal 10. In addition to the embodiments             may be imported from a social networking platform 50, such
of interface 16 described above in relation to FIG. lA,            45   as the number of shared entities in a social graph of user 14.
interface 16 may also comprise a touch screen interface                 Implicit signals may be based on the behavior of user 14
operable to detect and receive touch input such as a tap or             either within system 100 or other social networking plat-
a swiping gesture.                                                      forms 50. For example, if user 14 has expressed disapproval
   In some embodiments, matching server 20 may import                   of a user profile in the past, matching server 20 may no
profiles from other social networking systems. This level of       50   longer present the disapproved of user profile to user 14 in
integration provides the advantage of users only having to              future searches. In various embodiments, matching server 20
update their profile information in one place. For example,             may be configured to evaluate the attractiveness of a user in
when user 14 updates his profile within social networking               user profile pool 30 through collected feedback from other
platform 50, matching server 20 is also able to access the              users. For example, matching server 20 may rank a user
updated profile information.                                       55   profile that receives more likes as more relevant than a user
   In some embodiments, matching server 20 may further be               profile that receives fewer likes. In particular embodiments,
configured, as part of the user registration process, to link to        matching server 20 may assign a higher relevance to a user
a user's existing profile within social networking platform             profile if the other user has previously expressed a prefer-
50. Matching server 20 may be configured to parse the                   ence for user 14. As an example, user Harry may have
profiles of the users in set 52, e.g., collecting data and         60   previously expressed a preference for user Sally. If Sally
applying algorithms. For example, matching server 20 may                requests a set of user profiles from matching server 20, and
use explicit signals from social networking platform 50 such            Harry's user profile is included in the set, matching server 20
as common friends, common interests, common network,                    may assign Harry's user profile a higher relevance based on
location, gender, sexuality, or age to evaluate potential               his expression of preference for Sally. This can result in
matches between users 14. Matching server 20 may also use          65   Harry's profile being presented to Sally sooner than other-
implicit signals such as for whom a user 14 expresses                   wise would have occurred. This may be advantageous in that
approval and disapproval. Implicit signals may also include             it can increase the chances of a match without compromising
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                             21                                                                    22
a user's feelings of privacy when expressing preferences for          example, Harry may expand his search to a twenty-five mile
potential matches. In some embodiments, matching server               radius to meet people in his town, not just his immediate
20 may be configured to use the fate characteristics as a             vicinity.
metric in the relevance algorithm.                                       FIGS. 7 and 8 are diagrams of embodiments of the display
   In some embodiments, terminal 10 is operable to deter-        5    from FIG. 6 showing the effect of a left swipe gesture (FIG.
mine its own geographic location by a global positioning              7) and the effect of a right swipe gesture (FIG. 8). In one
satellite navigational system. Terminal 10 may also deter-            embodiment, users 14 may navigate through the set of
mine its own geographic location using cellphone-based                presented users by swiping through stack of cards 88. Users
triangulation techniques, Wi-Fi based positioning system,             14 may also express approval of a presented user by per-
                                                                 10   forming a right swipe gesture or express disapproval by
Global Positioning Satellite (GPS) system, or network
                                                                      performing a left swipe gesture. In some embodiments, user
addresses assigned by a service provider.
                                                                      14 performs a swiping gesture by moving a finger or other
   FIG. 6 shows one embodiment of system 100 displaying
                                                                      suitable object across a screen of terminal 10. Other suitable
to a user the profile information of a second user. Matching          gestures or manners of interacting with terminal 10 may be
server 20 may be configured to search through its plurality      15   used (e.g., tapping on portions of a screen of terminal 10).
of profiles and present suggested matches to user 14. In FIG.            In some embodiments, matching server 20 creates a
6, one embodiment of this presentation is depicted as                 match between two users 14 after both users 14 have
occurring through the display of terminal 10. In this embodi-         expressed a preference for each other's profiles using like
ment, a plurality of user profiles is presented to user 14.           button 86 or the swiping gesture associated with like button
Using terminal 10, user 14 may request that matching server      20   86. When matching server 20 creates a match, it may also
20 present a subset of users from user profile pool 30 based          provide the matched users with the ability to contact each
on specified search parameters. The display may show an               other through a contact button. In some embodiments, when
image of a suggested user and one or more aspects of the              a match is created, matching server 20 may immediately (or
suggested user's profile information. In some embodiments,            soon thereafter) present an option to users 14 that have been
the combination of image and one or more aspects of profile      25   matched to engage in a communication session (e.g., a chat,
information is displayed as "card" 88 representing the                an SMS message, an e-mail, a telephone call, a voice
suggested user. A set of suggested users may be displayed as          communication session, a video communication session).
stack of cards 88. User 14 may view information regarding             This may be done in response to a first user 14 expressing
one suggested user at a time or more than one of the                  a preference for a second user 14 that has already expressed
suggested users at a time. User 14 may be presented with a       30   a preference for the first user 14.
surmnary of information regarding a suggested user. The                  FIG. 9 shows one embodiment of matching system 100
surmnary may include one or more of: a picture, an icon,              displaying a match of a first user and a second user, in
name, location information, gender, physical attributes, hob-         accordance with a particular embodiment. Matching server
bies, or other profile information.                                   20 may provide first user 14 and second user 14 with each
   In some embodiments, terminal 10 may also display             35   other's contact information such as a telephone number or
"information" button 84 which allows user 14 to request               an e-mail address. Matching server 20 may also provide both
matching server 20 to retrieve and display more information           first and second users 14 with a way to directly contact the
about the presented user from user profile pool 30. In                other, such as sending a message or providing voice or video
addition, user 14 may express approval or disapproval for a           communication between the first and second user. In some
presented user. Expressing approval or disapproval can be        40   embodiments, direct communication may be initiated by
accomplished through various methods. For example, ter-               pressing "Send a Message" button 92. Alternatively, a user
minal 10 may display "like" button 86 (represented by a               may choose to continue browsing the set of presented users
green heart icon) and "dislike" button 82 (represented by a           by pressing "Keep Playing" button 94.
red "X" icon). Pressing like button 86 indicates to matching             For example, user Harry may indicate a preference to
server 20 that user 14 approves of and is interested in          45   communicate directly with user Sally by selecting like
communication with the presented user. Pressing dislike               button 86. At this point, Sally is not aware that Harry
button 82 indicates that user 14 disapproves of and does not          expressed a preference for her. If Sally also requests match-
want to communicate with the presented user. The approval             ing server 20 present her with a set of possible matches,
preference of user 14 is anonymous in that matching server            Harry may appear in her set. Sally may select like button 86
20 does not inform users 14 whether other users have             50   (or perform an associated swiping gesture) when viewing
expressed approval or disapproval for them.                           Harry's profile. Matching server 20 may then notify both
   As an example, consider two registered users, Harry and            Harry and Sally that a match occurred. At this point, both
Sally, both of whom have profiles stored in matching server           Harry and Sally are made aware that they each expressed
20. Harry is at a restaurant and requests matching server 20          approval of each other's profile. Matching server 20 then
to present him users within a one-mile radius of his location.   55   enables Harry and Sally to directly communicate with each
Matching server 20 compares a geographic position associ-             other (e.g., through a private chat interface).
ated with Sally with a geographic position associated with               In some embodiments, one advantage of a system dis-
Harry. If Sally is currently within the one-mile radius of            closing preferences of profiles to users when mutual
Harry and matching server 20 determines her profile infor-            approval has occurred is that a user can feel more secure in
mation matches Harry's preferences, matching server 20           60   their privacy knowing that their preferences will be dis-
will present Harry one or more aspects of Sally's profile             closed to those that have expressed a preference for that user.
information. If other users also meet the search criteria,            As an example, a user can avoid embarrassment if their
matching server 20 will present one or more aspects of those          expression of preference for a profile was not reciprocated.
users' profile information as well. Harry may request more            This may lead to users more actively expressing their
information about Sally by pressing information button 84.       65   preferences. Such increased activity can be used by the
Harry may also indicate his preference to communicate                 matching system to generate more potential matches or
directly with Sally by selecting like button 86. In another           better rankings of potential matches. In some embodiments,
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                             23                                                                     24
matching server 20 may be configured to allow direct                   some embodiments, step 1104 may not be performed. For
communication between users when there has been a mutual               example, if a matching proposal is suggested, then matching
expression of preference. This may be advantageous                     server 20 may perform step 1106 with respect to the users
because users can avoid browsing, deleting, or responding to           suggested to be matched.
unwanted messages.                                                        FIGS. 12A-D depict embodiments of a user interface. In
   FIG. 10 is a flowchart depicting a method for enabling              some embodiments, the interface allows user 14 of terminal
communication between two users of the matching system                 10 to enable communication between other users 14 by
of FIG. 1 based on a mutual expression of approval, in                 suggesting a matching proposal to matching server 20.
accordance with a particular embodiment.                                  FIG. 12A illustrates one embodiment of an interface for
   At step 1002, in some embodiments, matching server 20          10   proposing a match between two users. The interface is
generates a set of user profiles in response to a request for          divided into three sections: connection list area 1202, search
matching from a first user 14. At step 1004, matching server           area 1204, and suggestion area 1206. Connection list area
20 presents the set of user profiles to first user 14. Matching        1202 displays a set of connections user 14 has with other
server 20 determines the contents and ordering of the set of           users of, e.g., system 100 of FIG. 1. Connections may be
users profiles by using, e.g., the relevance algorithms           15   based on prior matches created by matching server 20.
described above in the discussion of FIG. 4. For example,              Connections may also be imported from another social
matching server 20 may only include user profiles whose                networking platform 50. Search area 1204 enables user 14 to
contents indicate location within a specified geographical             search for particular connections within system 100. In some
radius and order the presentation of those user profiles based         embodiments, the search may be limited to just the connec-
on the number of mutual friends in common with first user         20   tions displayed in connection list area 1202. Suggestion area
14.                                                                    1206 displays the connections that user 14 may use to form
   At step 1006, in some embodiments, matching server 20               a suggested match.
receives an indication of the preference of first user 14                 FIG. 12B illustrates suggestion area 1206 displaying a
regarding a presented user profile. Matching server 20                 first selected user (i.e., "Jonathan Smith") of a proposed
determines if first user 14 expresses approval or disapproval     25   match between two users. User 14 identifies the first selected
of the presented user profile at step 1008. If first user 14           user through a set of interactions with connection list area
disapproves of the presented user profile then a match is not          1202, search area 1204, and suggestion area 1206. For
made and, at step 1016, matching server 20 will not allow              example, user 14 may locate a connection in connection list
communication between the two users. If first user 14                  area 1202 by typing a user handle in search area 1204. User
expresses approval for the presented user profile at step         30   14 may then add the connection to suggestion area 1206. In
1008, then matching server 20 will check if second user 14             some embodiments, user 14 may drag the connection from
represented by the presented user profile has already                  connection list area 1202 to suggestion area 1206.
expressed a preference for first user 14 at step 1010. If                 FIG. 12C illustrates suggestion area 1206 displaying a
matching server 20 detects a mutual expression of approval             proposed match between two suggested users (i.e., "Jona-
then a match is made between first and second users 14.           35   than Smith" and "Mary Major"). For example, user 14 may
Then, at step 1012, matching server 20 allows private                  locate a second connection in connect list area 1202 that user
communications between first and second users 14. If a                 14 believes is a match for the first connection. User 14 may
mutual expression of approval is not detected at step 1010,            add the second connection to suggestion area 1206. When
then matching server 20 stores the preference of first user 14         both connections are added to suggestion area 1206, match-
regarding the presented user profile for future comparison        40   ing server 20 may create a match between the two users and
and continues to step 1016 where private communications                allow communication between them.
are not yet allowed.                                                      FIG. 12D illustrates an example communication interface
   FIG. 11 is a flowchart depicting a method for enabling              between users of the matching system. User 14 is presented
communication between two users of the matching system                 with chat box 1208 for each of the matches that exist for user
of FIG. 1 based on a matching proposal suggested by a user,       45   14. Users 14 may communicate with each other through chat
in accordance with a particular embodiment. At step 1102,              box 1208. In some embodiments, users 14 may communi-
matching server 20 receives interactions from first user 14.           cate through SMS messages, e-mail, telephone calls, online
Interactions from first user 14 may include identification of          voice communication sessions, and/or video communication
user profiles for two other users 14. For example, Harry is            sess10ns.
connected to both Bob and Sally within social networking          50      Modifications, additions, or omissions may be made to the
platform 50. Harry believes Bob and Sally are a good match             methods described herein (such as those described above
for each other and generates a matching proposal requesting            with respect to FIGS. 5, 10 and 11) without departing from
matching server 20 to create a match between Bob and Sally.            the scope of the disclosure. For example, the steps may be
   At step 1104, in some embodiments, matching server 20               combined, modified, or deleted where appropriate, and addi-
validates the suggested matching proposal between second          55   tional steps may be added. Additionally, the steps may be
and third users 14. For example, matching server 20 verifies           performed in any suitable order without departing from the
that Bob's profile indicates that he wants to be matched with          scope of the present disclosure.
a woman, and Sally's profile indicates that she wants to be               Although several embodiments have been illustrated and
matched with a man. Matching server 20 may also verify                 described in detail, it will be recognized that substitutions
that Sally has not previously expressed disapproval for Bob.      60   and alterations are possible without departing from the spirit
If matching server 20 determines the suggested matching                and scope of the appended claims.
proposal is valid, matching server 20 creates the match and               What is claimed is:
allows communication between the users 14 suggested to be                 1. A method of navigating a user interface, comprising:
matched at step 1106. If matching server 20 determines the                presenting, on a graphical user interface, a graphical
suggested matching proposal is not valid, matching server         65         representation of a first item of information of a plu-
20 does not create a match and does not allow communi-                       rality of items of information, the first item of infor-
cation between second and third users 14 at step 1108. In                    mation comprising a graphical representation of a first
                                                      US 9,959,023 B2
                              25                                                                        26
      online dating profile associated with a first user,                     automatically present a graphical representation of a
      wherein presenting the graphical representation of the                    second item of information of the plurality of items
      first item of information of the plurality of items of                    of information in response to the processor detecting
      information comprises presenting the first item of infor-                 the gesture, the second item of information compris-
      mation as a first card of a stack of cards;                               ing a graphical representation of a second online
   detecting a gesture associated with the graphical repre-                     dating profile associated with a second user; and
      sentation of the first item of information, the gesture
      corresponding to a positive preference indication asso-                 automatically remove the graphical representation of
      ciated with the first item of information, the positive                   the first item of information in response to detecting
      preference indication associated with the first item of       10          the gesture.
      information comprising an expression of approval for                  4. The system of claim 3, wherein the interface is further
      the first user associated with the first online dating             operable to present user interface controls such that ail user
      profile, wherein detecting the gesture associated with             interface controls configured to cause another item of infor-
      the graphical representation of the first item of infor-           mation of the plurality of items of information to be dis-
      mation comprises detecting a right swiping direction          15   played are associated with performing an action on the first
      associated with the gesture;                                       item of information.
   storing the positive preference indication associated with
      the first item of information in response to detecting the            5. At least one non-transitory computer-readable medium
      gesture;                                                           comprising a plurality of instructions that, when executed by
   automatically presenting, on the graphical user interface,       20   at least one processor, are configured to:
      a graphical representation of a second item of infor-                present, on a graphical user interface, a graphical repre-
      mation of the plurality of items of information in                      sentation of a first item of information of a plurality of
      response to detecting the gesture, the second item of                  items of information, the first item of information
      information comprising a graphical representation of a                 comprising a graphical representation of a first online
      second online dating profile associated with a second         25       dating profile associated with a first user, wherein the
      user; and                                                              plurality of instructions are configured to present the
   automatically removing the graphical representation of                    graphical representation of the first item of information
      the first item of information from the graphical user                  of the plurality of items of information as a first card of
      interface in response to detecting the gesture.                        a stack of cards;
   2. The method of claim 1, wherein presenting the graphi-         30
                                                                           detect a gesture associated with the graphical representa-
cal representation of the first item of information of the                   tion of the first item of information, the gesture corre-
plurality of items of information comprises presenting user                  sponding to a positive preference indication associated
interface controls such that all user interface controls con-
                                                                             with the first item of information, the positive prefer-
figured to cause another item of information of the plurality                ence indication associated with the first item of infor-
of items of information to be displayed are associated with         35
                                                                             mation comprising an expression of approval for the
performing an action on the first item of information.                       first user associated with the first online dating profile,
   3. A system, comprising:
                                                                             wherein the plurality of instructions are further config-
   an interface operable to:                                                 ured to detect a right swiping direction associated with
      present a graphical representation of a first item of                  the gesture;
         information of a plurality of items of information,        40
         the first item of information comprising a graphical              store the positive preference indication associated with
         representation of a first online dating profile associ-              the first item of information in response to detecting the
         ated with a first user, wherein the interface is further             gesture;
         operable to present the graphical representation of               automatically present, on the graphical user interface, a
         the first item of information of the plurality of items    45       graphical representation of a second item of informa-
         of information as a first card of a stack of cards;                 tion of the plurality of items of information in response
   a processor coupled to the interface and operable to:                     to detecting the gesture, the second item of information
      detect a gesture associated with the graphical represen-               comprising a graphical representation of a second
         tation of the first item of information, the gesture                online dating profile associated with a second user; and
         corresponding to a positive preference indication          50     automatically remove the graphical representation of the
         associated with the first item of information, the                  first item of information from the graphical user inter-
         positive preference indication associated with the                  face in response to detecting the gesture.
         first item of information comprising an expression of
                                                                            6. The at least one non-transitory computer-readable
         approval for the first user associated with the first
         online dating profile, wherein the processor is further    55
                                                                         medium of claim 5, wherein the plurality of instructions are
         operable to detect a right swiping direction associ-            further configured to present user interface controls such that
         ated with the gesture;                                          all user interface controls configured to cause another item
      store the positive preference indication associated with           of information of the plurality of items of information to be
         the first item of information in response to detecting          displayed are associated with performing an action on the
         the gesture; and                                           60
                                                                         first item of information.
   the interface further operable to:                                                           *   *   *    *   *
